JS-44 (Rev. 11/2020 DC)

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CIVIL COVER SHEET

 

L. (a) PLAINTIFFS
Hope VanDross

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF
(EXCEPT IN U.S, PLAINTIFF CASES)

DEFENDANTS

Chronicle of Higher Education, Inc. (The)

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT
(IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 

(202) 638-6988

(c) ATTORNEYS (FIRMNAME, ADDRESS, AND TELEPHONE NUMBER)
The Hintzen Law Firm

601 Pennsylvania Ave. NW, Ste. 900

Washington, DC 20004

ATTORNEYS (IF KNOWN)

 

 

1 U.S. Government
Plaintiff

oO 2US. Government
Defendant

Il. BASIS OF JURISDICTION
(PLACE AN x IN ONEBOX ONLY)

© 3 Federal Question
(U.S. Government Not a Party)

© 4 Diversity
(Undicate Citizenship of
Parties in item III)

 

II. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x INONEBOX FOR
PLAINTIFF ANDONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

PTF DFT PTF DFT
Citizen of this State © 1 © 1 Incorporated or Principal Place O 4 © 4
of Business in This State
Citizen of Another State Oo 2 O 2 Incorporated and Principal Place © 5 oO 5
of Business in Another State
Citizen or Subject ofa 3 3
Foreign Country O Oo Foreign Nation © 6 © 6

 

TV. CASE ASSIGNMENT AND NATURE OF SUIT

(Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)

 

© A. Antitrust

(_]410 Antitrust

O B. Personal Injury/
Malpractice

[__] 310 Airplane

Cc] 315 Airplane Product Liability

(_] 320 Assault, Libel & Slander

[__]330 Federal Employers Liability

[1340 Marine

| 345 Marine Product Liability

[__] 350 Motor Vehicle

[] 355 Motor Vehicle Product Liability

[] 360 Other Personal Injury

(_] 362 Medical Malpractice

{__] 365 Product Liability

[J 367 Health Care/Pharmaceutical
Personal Injury Product Liability

Cc] 368 Asbestos Product Liability

 

 

O C. Administrative Agency
Review

[__] 151 Medicare Act

Social Security

[__] 861 HIA (1395ff)

[__] 862 Black Lung (923)

[_] 863 DIWC/DIWW (405(g))

[__] 864 SSID Title XVI

[__] 865 RSI (405(g))

Other Statutes

[__] 891 Agricultural Acts

[__] 893 Environmental Matters

[__] 890 Other Statutory Actions (If
Administrative Agency is
Involved)

 

O D. Temporary Restraining
Order/Preliminary
Injunction

Any nature of suit from any category

may be selected for this category of

case assignment.

*(if Antitrust, then A governs)*

 

© E. General Civil (Other)

OR

© F. Pro Se General Civil

 

Real Property

C] 220 Foreclosure

[1240 Torts to Land

Personal Property
[1370 Other Fraud

Damage

 

[-] 210 Land Condemnation
[__]230 Rent, Lease & Ejectment

[_]245 Tort Product Liability
{__]290 All Other Real Property

C_] 371 Truth in Lending
[__]380 Other Personal Property

[1385 Property Damage
Product Liability

Bankruptcy
((_] 422 Appeal 27 USC 158

Prisoner Petitions
(_]535 Death Penalty
540 Mandamus & Other
[1] 550 Civil Rights
CJ 555 Prison Conditions

of Confinement
Property Rights
[__] 820 Copyrights
[1830 Patent

Drug Application
] $40 Trademark

2016 (DTSA)

 

{__] 423 Withdrawal 28 USC 157

560 Civil Detainee — Conditions

[__] 835 Patent — Abbreviated New

[__] 880 Defend Trade Secrets Act of

Federal Tax Suits

[] 870 Taxes (US plaintiff or
defendant)

[__] 871 IRS-Third Party 26 USC
7609

Forfeiture/Penalty
[__] 625 Drug Related Seizure of

Property 21 USC 881
[_] 690 Other

Other Statutes

[_] 375 False Claims Act

[__]376 Qui Tam (31 USC
3729(a))

Eo 400 State Reapportionment

[__] 430 Banks & Banking

[__] 450 Commerce/ICC Rates/etc

[__] 460 Deportation

[_] 462 Naturalization
Application

 

 

[__] 465 Other Immigration Actions

[__] 470 Racketeer Influenced
& Corrupt Organization

| 480 Consumer Credit

CJ 485 Telephone Consumer
Protection Act (CPA)

[__] 490 Cable/Satellite TV

[__] 850 Securities/Commodities/
Exchange

[__] 896 Arbitration

[__] 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

[__] 950 Constitutionality of State
Statutes

[__] 890 Other Statutory Actions
(if not administrative agency
review or Privacy Act)

 

 

 
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© G. Habeas Corpus/
2255

[__] 530 Habeas Corpus — General

[__] 510 Motion/Vacate Sentence

463 Habeas Corpus — Alien
Detainee

O H. Employment
Discrimination
442 Civil Rights — Employment
(criteria: race, gender/sex,
national origin,
discrimination, disability, age,
religion, retaliation)

*(If pro se, select this deck)*

O I. FOIA/Privacy Act

[1895 Freedom of Information Act
[__] 890 Other Statutory Actions
(if Privacy Act)

*(If pro se, select this deck)*

© J. Student Loan

Ee] 152 Recovery of Defaulted
Student Loan
(excluding veterans)

 

© K. Labor/ERISA
(non-employment)

[__] 710 Fair Labor Standards Act
[]720 Labor/Mgmt. Relations
[_] 740 Labor Railway Act
{] 751 Family and Medical

Leave Act
{__] 790 Other Labor Litigation
{__] 791 Empl. Ret. Inc. Security Act

O L. Other Civil Rights
(non-employment

[]441 Voting (if not Voting Rights
Act)

[_] 443 Housing/Accommodations

[_]440 Other Civil Rights

[445 Americans w/Disabilities —
Employment

[""] 446 Americans w/Disabilities —
Other

[_] 448 Education

 

 

© M. Contract

| 110 Insurance

[-] 120 Marine

[_] 130 Miller Act

140 Negotiable Instrument

by 150 Recovery of Overpayment
& Enforcement of
Judgment

(J153 Recovery of Overpayment
of Veteran’s Benefits

[__] 160 Stockholder’s Suits

| 190 Other Contracts

[_] 195 Contract Product Liability

 

O N. Three-Judge
Court

[__] 441 Civil Rights — Voting
(if Voting Rights Act)

 

[__] 196 Franchise
V. ORIGIN
©) 1 Original oO 2 Removed oO 3 Remanded ?) 4 Reinstated '@) 5 Transferred €) 6 Multi-district © 7 Appeal to oO 8 Multi-district
Proceeding from State from Appellate or Reopened from another Litigation District Judge Litigation —
Court Court district (specify) from Mag. Direct File
Judge

 

VI. CAUSE OF ACTION (CITE THE U.S. CIVEL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)

Title VIl of the Civil Rights Act of 1964, 42 U.S.C.S_ § 2000e et seq. (Race Discrimination & Retaliation; Age Discrimination in Employment Act of 1967, 29 U.S.C.S. § 623 et seq. (Age Discrimination & Retaliation)

 

 

VI. REQUESTED IN CHECK IF THIS IS A CLASS DEMANDS oP? > ve Check YES only if demanded in complaint
COMPLAINT ee JURY DEMAND: YES NO
VII. RELATED CASE(S) (See instruction) YES = NO If yes, please complete related case form
IF ANY

 

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1

 

 

PIEZ

 

 

INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
Authority for Civil Cover Sheet

The JS-44 civil cover sheet and the information conta ined herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, exceptas provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil coversheet. These tips coincide with the Roman Numerals on the cover sheet.

L COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT {b) County of residence: Use 11001 to indicate plaintiff if resident
of Washington, DC, 88888 if plaintiffis resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

Til. CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
under Section IT.

IV. CASE ASSIGNMENT AND NATURE OF SUIT: The assignment ofa judge to your case will depend on the category you select that best

represents the prmary cause of action found in your complaint. You may select only one category. You mustalso select one corresponding
nature of suit found underthe category of the case.

Vi CAUSE OF ACTION: Cite the US. Civil Statute underwhich you are filing and write a brief statement of the primary cause.

Vill. RELATED CASE(S), IF ANY: Ifyou indicated that there is a related case, you must complete a related case form, which may be obtained from

the Clerk’s Office.

Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
